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Exhibit E
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DECLARATION UNDER PENALTY OF PERJURY
PURSUANT TO 28 U.S.C. § 1746

1. My name is Deepak Eidnani. I am over eighteen years of age and competent
to testify to the matters contained herein.

2. Iam a resident of Fulton County in Georgia and my residence address is
4140 Bellflower Drive, Alpharetta, GA 30005.

3. I received a letter from the Secretary of State telling me than I would be
removed from the voter roles unless I contacted them. My wife went to the
Secretary of State’s website on my behalf and confirmed my voter
information. She did this the first or second week of November 2019, well
before Thanksgiving.

4. I voted in the 2016 presidential election and have lived at my address for over
18 years. I do not understand why I was included on the list of voters who are
inactive and might be removed from the rolls.

5. A Fair Fight Staffer checked the list of voters to be removed and my name is
still on the list as of December 14, 2019. My last name is misspelled on the
Secretary of State’s Inactive Voter list. A copy of my information on the
inactive voter list is attached as Exhibit A.

6. My name is spelled correctly on my voter registration on the Secretary of

State’s website, and my status is listed as active. I do not understand why I

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am still on the list to be removed. A copy of my voter registration status is
attached as Exhibit B.

7. [want to be able to vote in the future and do not want to be removed from the
voter registration rolls.

8. I give this Declaration freely, without coercion, and without any expectation
of compensation or other reward.

9. J understand that in giving this Declaration, that I am not represented by a
lawyer. Nor has any lawyer asked me to be their client or to serve in anyway
as anything other than a witness in this litigation.

10. I declare under penalty of perjury that the foregoing is true and correct.

Further affiant sayeth not, this the iy” day of  eweean 2019.

}
Deepak Eidnani
Exhibit A
Secretary of State Inactive Voter List
ELDNANI DEEPAK K 1964 4140 BELLFLOWER DR
Exhibit B
Deepak Eidnani MVP
My Voter Page @

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Lic

Brat res Pee

DEEPAK KISHINCHAND EIDNANI

4140 BELLFLOWER DR Precinct APO9A

ALPHARETTA, GA, 30005 WEBB BRIDGE MIDDLE

Race: Unknown SCHOOL

Gender: Male Status: Active 4455 WEBB BRIDGE RD
Registration Date: 10/01/2008 ALPHARETTA, GA, 30005 - 9008
OUTRTFTOAWO Ged Com nrietan Election Day polling place hours
Click Here for Sample Ballots are 7:00 am - 7:00 pm.

LEATrer CO RC ead | Ciel et Frtare
Click Here for Early Voting
Locations and Times

Click Here for Municipal Polling
Place

NOTE: Non-specific rural addresses may not
be available.

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